        Case 3:18-cv-00600-RCJ-WGC Document 19 Filed 02/26/19 Page 1 of 3


Luke Andrew Busby, Ltd. 
Nevada State Bar No. 10319 
316 California Ave.  
Reno, NV 89509  
775-453-0112 
luke@lukeandrewbusbyltd.com 
Attorney for the Plaintiff 
   
                           UNITED STATES DISTRICT COURT  
                                   DISTRICT OF NEVADA 
                                                 
                                                 
    COURAGE UHUMWNOMA OSAWE,                         
                                                     
                  Plaintiff(s),                     Case No.​ 3:18-cv-00600-RCJ-WGC  
           vs.                                       
                                                    MOTION TO STRIKE FOR 
    DMV INVESTIGATOR JENNIFER                       FAILURE TO REDACT 
    TINSLEY, DMV INVESTIGATOR                       CONFIDENTIAL 
    BRIAN BOWLES, DMV                               INFORMATION   
    INVESTIGATOR WILLIAM LYONS                       
    and DMV SERGEANT TODD                              
    PARDINI; and JOHN DOES I through                 
    X, inclusive                                     
     
                 Defendant(s). 
    _________________________________/ 

                                                 
                                                     

 
        COMES NOW, COURAGE UHUMWNOMA OSAWE, (“Osawe” or “Plaintiff”), by 

and through the undersigned counsel, and hereby files the following Motion to Strike For 

Failure to Redact Confidential Information against DMV INVESTIGATOR JENNIFER 

TINSLEY (“Tinsley”), DMV INVESTIGATOR BRIAN BOWLES (“Bowles”), DMV 

INVESTIGATOR WILLIAM LYONS (“Lyons”), and DMV SERGEANT TODD 



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     Case 3:18-cv-00600-RCJ-WGC Document 19 Filed 02/26/19 Page 2 of 3


PARDINI (“Pardini”) (collectively “the Defendants”); and JOHN DOES I through X, 

inclusive. 

      This Motion is made and based upon all of the pleadings and records on file for this 

proceeding together with every exhibit that is mentioned herein or attached hereto (each of 

which is incorporated by this reference as though it were set forth hereat in haec verba), if 

any there be, as well as the points and authorities set forth directly hereinafter.  

                ​ MEMORANDUM OF POINTS AND AUTHORITIES 

      On February 26, 2019, the Defendants filed a Motion to Stay Discovery (“Motion”) in 

this matter. (Doc #17). In Exhibit B to the Motion on page 6 of 17, the Defendants 

publicly filed the Plaintiff's drivers license number, social security number, and date of birth 

without redacting this information. FRCP 5.2 requires that such information be redacted 

before filing. LR IC 6-1 also requires that such redactions take place. LR IC 7-1 states that 

the Court may strike documents that do not comply with the rules for electronic filing.   

      WHEREFORE, the Plaintiff requests that the Court strike the Defendant’s Motion to 

Stay Discovery (Doc #17) from the record and preclude the refiling of the Motion with the 

Court for violation of the provisions described above as permitted by LR IA 11-8.  

      Respectfully submitted this February 26, 2019.  

                                                      By: ​__________________________ 
                                                      Luke Busby 
                                                      Nevada State Bar No. 10319 
                                                      316 California Ave.  
                                                      Reno, NV 89509  
                                                      775-453-0112 
                                                      luke@lukeandrewbusbyltd.com 
                                                      Attorney for the Plaintif 



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     Case 3:18-cv-00600-RCJ-WGC Document 19 Filed 02/26/19 Page 3 of 3


 
                               
                            CERTIFICATE OF SERVICE 
       Pursuant to FRCP 5, I certify that on the date provided below, I caused service to be 

completed by: 

______ personally delivering; 

______ delivery via Reno/Carson Messenger Service; 

______ sending via Federal Express (or other overnight delivery service); 

 ______ depositing for mailing in the U.S. mail, with sufficient postage affixed thereto; or, 

 ​XXXX​ delivery via electronic means (ECF, fax, eflex, NEF, etc.) 

 a true and correct copy of the foregoing document addressed to:  

AARON D. FORD 
Attorney General 
NATHAN L. HASTINGS (Bar No. 11593) 
Senior Deputy Attorney General 
State of Nevada 
Office of the Attorney General 
555 Wright Way 
Carson City, NV 89711 
(775) 684-4606 (phone) 
(775) 684-4601 (fax) 
NHastings@ag.nv.gov 
Attorney for Defendants 
 
 
By: ______________________________                       2/26/2019
                                                  Dated: ________________ 
Luke Busby 
 




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